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NVB 5075 (Rev. 1/19)


                         UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF NEVADA


 IN RE:                                                   BK−22−50266−nmc
                                                          CHAPTER 7
 ALVIN A. BRESCIANI ,
                                     Debtor(s)
                                                          Adversary Proceeding: 22−05012−nmc


 HERMAN MENEZES, LLC, et al,                              NOTICE OF DOCKETING
                           Plaintiff(s)                   ERROR

 vs

 ALVIN BRESCIANI, et al,
                                     Defendant(s)




NOTICE IS ORDERED that the following docket entry requires correction:

           Docket Number/Entry:           7 − Amended Complaint Filed by LUKE BUSBY on behalf
                                          of HERMAN MENEZES, LLC against ALVIN
                                          BRESCIANI (BUSBY, LUKE)
           Filed On:                      9/2/22
           With A Hearing Date Of:        12/15/22
           And A Hearing Time Of:         9:30 am

The reason(s) for the required correction(s) is as follows:

   *     PDF has an incorrect case caption. Please Refer to the Local Rules and file an amended
         pleading or file in the correct case immediately. The following caption item(s) are
         incorrect/missing:
         * The Case Caption does not match the docket sheet. The case caption must include
              all parties including terminated parties.




Dated: 9/6/22


                                                       Mary A. Schott
                                                       Clerk of Court



      For additional information, please visit the court's web site at https://www.nvb.uscourts.gov
